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            6                                  UNITED STATES DISTRICT COURT
            7                               NORTHERN DISTRICT OF CALIFORNIA
            8                                          OAKLAND DIVISION
            9    ROBERT ROSS,                                         CASE NO. 4:19-CV-06669 (JST)
           10                         Plaintiff,                      [PROPOSED] ORDER EXTENDING TIME
                                                                      TO SUBMIT CASE MANAGEMENT
           11           v.                                            STATEMENT AND EXTENDING DATE OF
                                                                      CASE MANAGEMENT CONFERENCE
           12    AT&T MOBILITY, LLC,
                                                                      Complaint Served: October 25, 2019
           13                         Defendant.
                                                                      Current Case Management Statement Date:
           14                                                                     September 8, 2020
           15                                                         New Case Management Statement Date:
                                                                                October 20, 2020
           16
                                                                      Current Case Management Conference Date:
           17                                                                     September 15, 2020
           18                                                         New Case Management Statement Date:
                                                                                October 27, 2020
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           22         [PROPOSED] ORDER EXTENDING TIME TO SUBMIT CASE MANAGEMENT
                    STATEMENT AND EXTENDING DATE OF CASE MANAGEMENT CONFERENCE
           23           Upon consideration of the stipulation filed by the parties, it is ORDERED that the Case
           24    Management Conference in this case is postponed until October 27, 2020. The parties’ deadline to
           25    submit an Updated Case Management Statement shall be October 20, 2020.
           26           IT IS SO ORDERED.
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Gibson, Dunn &   [PROPOSED] ORDER EXTENDING TIME TO SUBMIT CASE MANAGEMENT STATEMENT AND EXTENDING
Crutcher LLP
                                        DATE OF CASE MANAGEMENT CONFERENCE
                                               CASE NO. 4:19-CV-06669 (JST)
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            1    Dated: September 8, 2020
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                                                    Honorable Jon S. Tigar
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                                                    United States District Judge
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Gibson, Dunn &   [PROPOSED] ORDER EXTENDING TIME TO SUBMIT CASE MANAGEMENT STATEMENT AND EXTENDING
Crutcher LLP
                                        DATE OF CASE MANAGEMENT CONFERENCE
                                               CASE NO. 4:19-CV-06669 (JST)
